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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )        Case No. 8:09CR09-002
                                         )
                    Plaintiff,           )
                                         )
      v.                                 )          JUDGMENT OF ACQUITTAL
                                         )
ADRIANA GARCIA-SILVA,                    )
                                         )
                    Defendant.           )

      The defendant, having pleaded not guilty as to Counts I and II of the Information,

and the jury having found the defendant not guilty of those counts,

      IT IS ORDERED:

      1.     Judgment of acquittal is entered as to Counts I and II of the Information and

             the defendant is discharged as to those counts; and

      2.     The Indictment and Superseding Indictment are dismissed.

      DATED this 3rd day of September, 2009.

                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         United States District Judge
